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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

IN IN RE SKANSKA USA
CIVIL SOUTHEAST INC. AND
SKANSKA USA, INC., AS
OWNERS OF THE BARGE KS               ADMIRALTY RULE 9(H)
5531 PRAYING FOR
EXONERATION FROM OR                  Case No.: 3:20cv5980/LAC/HTC
LIMITATION OF LIABILITY
___________________________________/

                                     ORDER

      Before the Court is the Response to the Court’s Show Cause Order (Doc. 1288)

filed by Petitioners Skanska USA Civil Southeast, Inc., and Skanska USA, Inc.,

(“Skanska”). The show cause was issued because of Skanska’s failure to file a

pretrial brief and proposed written findings of fact and conclusions of law as directed

by the Court’s Order Setting Trial and Pretrial Matters (Doc. 1234). Claimants have

filed a memorandum in opposition to Skanska’s response (Doc. 1292).

      Skanska asserts that its failure to timely file its pretrial briefings stemmed from

confusion in the reading of the Court’s pretrial order, which caused Skanska to think

that the briefs were not due on August 27 but on September 13, 2021, the day upon

which trial was then scheduled to commence. While there was indeed an issue in the

numbering of the relevant sections in the outline of the order, Claimants attest that
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this issue was discussed among counsel for both parties during their pretrial

conference, after which the parties timely filed their Joint Pretrial Stipulation (Doc.

1272). Claimants also fault Skanska for not seeking clarification from the Court,

especially in the light of Skanska’s apparent supposition that its briefs would not be

due until the day of trial.

       The Court shares Claimants’ skepticism with regard to Skanska’s reading of

the Court’s Order and its actions thereon. Nevertheless, Skanska’s lateness pertains

only to organizational briefs that are presented largely for the Court’s benefit, and

with the month long postponement of trial now in effect, perhaps fortunately for

Skanska, there is little prejudice to be gleaned from its untimeliness. Accordingly,

the Court will not impose sanctions.

       Claimants identify other instances in which Skanska has failed to meet other

deadlines in this case, which court transcripts confirm. While the Court will not now

undertake to decide if these failures were intentional or the result of “too many cooks

in the kitchen,” Skanska should know that the Court will have little patience for any

further unwarranted delays in this case.

       Finally, Claimants assert that because of Skanska’s untimeliness, Skanska had

the benefit of reviewing Claimants’ pretrial briefs before submitting its own. In light


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of this fact, the Court deems it appropriate to allow Claimants the opportunity to

amend their own pretrial briefs. If Claimants elect to do so, they shall have until

September 21, 2021, to so file.

       ORDERED on this 14th day of September, 2021.




                                                    s/L.A. Collier
                                                     Lacey A. Collier
                                            Senior United States District Judge




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